                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                                     5: 10-CR-219-BO-3
 UNITED STATES OF AMERICA                          )
                                                   )
                 v.                                )     ORDER OF DETENTION PENDING
                                                   )                TRIAL
 LIONEL RAY MCCALL,                                )
                                                   )
                 Defendant.                        )


        This case came before the court today for hearing on the government's motion, pursuant to

18 U.S.c. § 3142(f), to detain defendant pending trial. The government presented the testimony of

an agent with the Federal Bureau of Alcohol, Tobacco, Firearms and Explosives, and defendant the

testimony of the proposed third-party custodian, defendant's mother. The court also reviewed the

pretrial services report. After careful consideration pursuant to 18 U.S.c. § 3142(g) of the credible

information and argument submitted, and based on the findings and reasons stated below and in

open court, the court finds by a preponderance of the evidence that there is no condition or

combination of conditions that will reasonably assure defendant's appearance as required, and by

clear and convincing evidence that there is no condition or combination of conditions that will

reasonably assure the safety of any other person and the community before trial if defendant is

released. The government's motion is therefore GRANTED.

                                             Background

        Defendant was indicted on 9 July 2010 for the following offenses: one count of conspiracy

to distribute and possess with intent to distribute fifty grams or more of cocaine base (i.e., crack) and

a quantity of cocaine beginning in or around 2009 and continuing until on or about 20 January 2010

in violation of21 U.S.c. § 846 (count 1); and three counts of distribution of more than five grams

of cocaine base, and aiding and abetting the same, on or about 17 November 2009, 1 December




           Case 5:10-cr-00219-BO           Document 26         Filed 07/22/10      Page 1 of 3
2009, and 20 January 2010, in violation of21 U.S.c. § 841(a)(l) and 18 U.S.c. § 2 (counts 4,5, 11,

respectively). The evidence presented at the hearing showed that the charges arise from three

controlled purchases of crack from defendant by a confidential informant on the alleged offense

dates. The quantities of crack involved in the sales were 10.3 grams, 10.4 grams, and 21.9 grams,

respectively. After his arrest, defendant admitted to his involvement in the sales.

                                            Discussion

       Given the nature of the charges, the rebuttable presumption of detention in 18 U.S.c. §

3142(e)(3) applies, and the court has considered it, although defendant proffered sufficient evidence

to shift the burden of production to the government. In addition to the presumption, the principal

findings and reasons underlying the court's determination that detention is required include the

following:    evidence showing that the government has a strong case, including the evidence

reviewed above; the drug-related nature of the offenses charged; the circumstances of the offenses

charged, including the significant quantity ofdrugs involved and defendant's conduct ofthe alleged

sales while on state probation; defendant's felony convictions for involuntary manslaughter,

indecent liberties with a child, and maintaining a place for controlled substances, and his

misdemeanor conviction for assault; the other portions ofdefendant's criminal record, including two

formal probation violations (one as recently as June 2010), the accrual ofnine pending charges while

on state probation (five in 2010 and one as recently as 29 May 2010), and defendant's failure to keep

current his registration as a sex offender; the unsuitability of the proposed third-party custodial

arrangement due to the presence of a minor in the proposed custodial home, the absence ofthe third­

party custodian from the home for full-time employment, the location of the proposed custodial

home in the same community in which the charged drug dealing by defendant occurred, and the high




                                                 2


             Case 5:10-cr-00219-BO       Document 26        Filed 07/22/10      Page 2 of 3
degree of flight risk and risk of danger presented by defendant; and, as indicated, the other findings

and reasons stated in open court.

        The court considered evidence offered as mitigating, but finds that the factors favoring

detention outweigh such evidence. For example, although defendant apparently has only one

documented failure to appear, defendant presents a risk of flight not reasonably addressed through

any conditions because of the substantial prison term he faces if convicted, his manifest disregard

of the law in general and probation requirements in particular, and the presumption regarding flight

risk.

                                            Conclusion

        IT IS THEREFORE ORDERED that defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a corrections facility separate, to the

extent practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. Defendant shall be afforded a reasonable opportunity for private consultation with defense

counsel. On order of a court of the United States or on request of an attorney for the government,

the person in charge of the corrections facility shall deliver defendant to the United States Marshal

for the purpose of an appearance in connection with a court proceeding.

        This, the 20th day of July 2010.




                                                 3


           Case 5:10-cr-00219-BO           Document 26       Filed 07/22/10      Page 3 of 3
